Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 1 of 60




                                          EXHIBIT

                                             A                 PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 2 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 3 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 4 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 5 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 6 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 7 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 8 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 9 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 10 of 60




                                                               PQPR-8
                             778-1 Filed in TXSB on 03/07/24
      Case 22-60043 Document 845-8                  12/13/23 Page 11 of 60




                                                                                                INVOICE
                                                                                                    Invoice # 1058
                                                                                                 Date: 09/05/2023
                                                                                               Due On: 10/05/2023
Law Office of Ray Battaglia
66 Granburg Circle
San Antonio, Texas 78218


Free Speech Systems LLC
3019 Alvin DeVane, Suite 350
Austin, Texas 78741

00401-Free Speech Systems LLC

Chapter 11 Bankruptcy

 Services

  Type        Date                               Notes                             Quantity    Rate      Total

 Service    08/01/2023   Telephone conference with P. Magill regarding                 0.20   $575.00    $115.00
                         communications with AEJ professionals regarding
                         direction of case;

 Service    08/01/2023   Receipt and review of reissued Summons, complete              0.80   $575.00    $460.00
                         same and attend to service of Amended Complaint;

 Service    08/01/2023   Conference call with V. Driver and M. Haselden                0.60   $575.00    $345.00
                         regarding operational disputes between AEJ and P.
                         Magill;

 Service    08/01/2023   Email communication from D. Chasin regarding UCC              0.20   $575.00    $115.00
                         discovery requests;

 Service    08/02/2023   Telephone conference with D. Chasin regarding UCC             0.40   $575.00    $230.00
                         discovery conference;

 Service    08/02/2023   Telephone conference with J. Shulse regarding                 0.40   $575.00    $230.00
                         Platinum products sales reconciliation;

 Service    08/02/2023   Receipt and review of revised sales report for Platinum       0.40   $575.00    $230.00
                         products and email to J. Patterson regarding same;

 Service    08/03/2023   Telephone conference with W. Cicack regarding status          0.40   $575.00    $230.00
                         of negotiations of settlement with J. Delassio and
                         merchant credit agreement with Sweetwater;

 Service    08/03/2023   Telephone conference with V. Driver regarding                 0.30   $575.00    $172.50
                         operational disputes between AEJ and the CRO;




                                                    Page 1 of 8
                                                                                                        PQPR-8
                            778-1 Filed in TXSB on 03/07/24
     Case 22-60043 Document 845-8                  12/13/23 Page 12 of 60
                                                                                 Invoice # 1058 - 09/05/2023




Service   08/03/2023   Telephone conference with P. Magill regarding             0.60   $575.00    $345.00
                       employment contract with A. Jones, credit card
                       processing agreement, Platinum products settlement
                       status and other matters;

Service   08/03/2023   Draft termination letter to Sweetwater Holdings,          0.50   $575.00    $287.50
                       terminating Financial Services Agreement;

Service   08/03/2023   Receipt and review of weekly sales summary;               0.10   $575.00     $57.50

Service   08/04/2023   Telephone and email communications with M.                0.40   $575.00    $230.00
                       Haselden regarding AEJ employment agreement and
                       Crowder agreement;

Service   08/04/2023   Review proposed agreement between Crowder and             1.00   $575.00    $575.00
                       AEJ;

Service   08/04/2023   Review Ally Motion for Relief from Stay on Chevy          0.80   $575.00    $460.00
                       Tahoe; email to client and AEJ counsel regarding
                       instructions regarding same; attempted telephone
                       communications with Ally's counsel;

Service   08/07/2023   Telephone conference with S. Roberts regarding            0.30   $575.00    $172.50
                       acceptance of service on the AEJ Trust related entities
                       and regarding mediation;

Service   08/07/2023   Attend status conference regarding discharge              0.50   $575.00    $287.50
                       adversaries in the AEJ bankruptcy case;

Service   08/08/2023   Telephone conference with P. Magill regarding status of   0.70   $575.00    $402.50
                       all pending matters, plan modifications and other
                       matters;

Service   08/08/2023   Email communications with N. Pattis regarding             0.10   $575.00     $57.50
                       payment of balance of appellate fees;

Service   08/08/2023   Respond to UCC email for reduced production and           1.20   $575.00    $690.00
                       telephone conferences with J. Shulse and B. Stidham
                       regarding specific requests;

Service   08/08/2023   Telephone conference with V. Driver regarding             0.40   $575.00    $230.00
                       operational issues, payroll and other matters;

Service   08/08/2023   Telephone conference with T. Enlow regarding Ally         0.30   $575.00    $172.50
                       Bank motion to lift stay; telephone conference with V.
                       Driver regarding same;

Service   08/08/2023   Telephone conference with J. Patterson regarding ESB      0.30   $575.00    $172.50
                       and Platinum products disbursements;

Service   08/08/2023   Receipt and review response from B. Stidham               0.20   $575.00    $115.00
                       regarding Coinbase Documents;

Service   08/09/2023   Telephone conference with J. Shulse regarding change      0.20   $575.00    $115.00
                       in Platinum products discount rate that altered the ESG
                       accounting and telephone conference with J. Patterson
                       regarding same;




                                                  Page 2 of 8
                                                                                                  PQPR-8
     Case 22-60043 Document 845-8
                            778-1 Filed in TXSB on 03/07/24
                                                   12/13/23 Page 13 of 60
                                                                                    Invoice # 1058 - 09/05/2023




Service   08/09/2023   Initial review and analysis of Tort Plaintiff's Motion for   1.60   $575.00    $920.00
                       Intervention; review court hearing transcripts for
                       conflicting positions taken by same in prior hearings;

Service   08/10/2023   Legal analysis of constitutional standing, prudential        5.20   $575.00   $2,990.00
                       standing and mandatory and permissive intervention;
                       initial drafting of objection to motion to intervene;

Service   08/11/2023   Video conference with P. Magill and operations team          2.00   $575.00   $1,150.00
                       regarding plan projections;

Service   08/11/2023   Telephone conference with J. Patterson regarding             0.30   $575.00    $172.50
                       Platinum and ATS funds;

Service   08/11/2023   Continued drafting of response to Motion to Intervene;       6.60   $575.00   $3,795.00
                       finalize and file same;

Service   08/11/2023   Telephone conference with S. Gallagher regarding             0.20   $575.00    $115.00
                       access to Cicack bank statements;

Service   08/11/2023   Email communications from J. Shulse regarding                0.10   $575.00     $57.50
                       corrections to the weekly sales summary;

Service   08/14/2023   Email communications with Security State Bank and J.         0.10   $575.00     $57.50
                       Shulse regarding adequate protection payment;

Service   08/14/2023   Telephone conference with P. Magill regarding plan tax       0.90   $575.00    $517.50
                       issues;

Service   08/14/2023   Telephone conference with S. Gallagher regarding             0.20   $575.00    $115.00
                       Cicack bank records and email communication to W.
                       Cicack regarding same;

Service   08/15/2023   Travel to Houston and back (billed at 1/2 time);             2.20   $575.00   $1,265.00

Service   08/16/2023   Telephone conference with P. Magill regarding report         0.60   $575.00    $345.00
                       on summary judgment hearings and to discuss plan
                       issues;

Service   08/16/2023   Telephone conference with S. Lemmon, R. Mates and            0.90   $575.00    $517.50
                       B. Roe regarding informal discovery in connection with
                       PQPR adversary;

Service   08/16/2023   Conference call with B. Schleizer, P. Magill and client      1.30   $575.00    $747.50
                       team members, M. Haselden and A. Farrow regarding
                       plan tax considerations;

Service   08/16/2023   Telephone conference with M. Haselden regarding              0.20   $575.00    $115.00
                       recap of summary judgment hearings;

Service   08/16/2023   Receipt and review draft July MOR and email to J.            0.30   $575.00    $172.50
                       Shulse regarding same;

Service   08/16/2023   Telephone conference with P. Magill to recap tax             0.20   $575.00    $115.00
                       planning meeting;

Service   08/16/2023   Email communications with S. Roberts regarding               0.20   $575.00    $115.00
                       acceptance of service on AEJ Holdings; atend to




                                                    Page 3 of 8
                                                                                                     PQPR-8
     Case 22-60043 Document 845-8
                            778-1 Filed in TXSB on 03/07/24
                                                   12/13/23 Page 14 of 60
                                                                                  Invoice # 1058 - 09/05/2023




                       service of process of PQPR suit on AEJ Holdings;

Service   08/16/2023   Email communication with Judge Isgur regarding status      0.20   $575.00    $115.00
                       of PQPR mediation;

Service   08/16/2023   Email and telephone conference regarding PQPR              0.20   $575.00    $115.00
                       documents turned over to PQPR from FSS office;

Service   08/17/2023   Forward schedules and SOFA;s to M. Fruge for update        0.10   $575.00     $57.50
                       of claims;

Service   08/17/2023   Investigate critical vendor payments and forward list of   0.20   $575.00    $115.00
                       payments to P. Magill and J. Shulse;

Service   08/17/2023   Receipt and review of weekly sales report;                 0.10   $575.00     $57.50

Service   08/17/2023   Review Connecta Satellite Solutions LLC marketing          0.20   $575.00    $115.00
                       agreement;

Service   08/17/2023   Receipt and review of voluntary production of mediation    0.80   $575.00    $460.00
                       settlement privileged information from PQPR counsel
                       and forward same to client;

Service   08/18/2023   Finalize and file executed summons on AEJ Austin           0.20   $575.00    $115.00
                       Holdings, LLC;

Service   08/18/2023   Finalize and file July 2023 MOR;                           0.30   $575.00    $172.50

Service   08/18/2023   Receipt and review of revised stipulation between USS      0.50   $575.00    $287.50
                       and AEJ estate regarding administrative claims;
                       respond to same;

Service   08/18/2023   Email communications from AEJ counsel regarding J.         0.30   $575.00    $172.50
                       Haarmon contract; email and telephone conferences
                       with P. Magill and J Shulse regarding same;

Service   08/18/2023   Receipt of numerous emails from D. Chasin regarding        1.20   $575.00    $690.00
                       "newly" discovered PQPR documents from D. Jones
                       office at FSS; telephone conference with S. Lemmon to
                       confirm the documents at issue; extensive responses to
                       same;

Service   08/19/2023   Email communication by P. Magill to J. Haarmon             0.10   $575.00     $57.50
                       regarding repayment of marketing bonus;

Service   08/21/2023   Conference call with P. Magill and Sub V Trustee and       1.60   $575.00    $920.00
                       her counsel regarding AEJ administrative claim and
                       plan of reorganization;

Service   08/21/2023   Telephone and email communications with W. Cicack          0.70   $575.00    $402.50
                       and J. Patterson regarding ATS money, Platinum
                       proceeds and other disputes;

Service   08/21/2023   Receipt and review of updated spreadsheet of Platinum      0.80   $575.00    $460.00
                       product sales; telephone conference with J. Shulse
                       regarding calculation of FSS proceeds and email to J.
                       Patterson regarding same;




                                                  Page 4 of 8
                                                                                                   PQPR-8
                            778-1 Filed in TXSB on 03/07/24
     Case 22-60043 Document 845-8                  12/13/23 Page 15 of 60
                                                                                  Invoice # 1058 - 09/05/2023




Service   08/21/2023   Receipt of order allowing firm's interim compensation      0.20   $575.00    $115.00
                       and email to client regarding same;

Service   08/22/2023   Revise AEJ Employment Contract;                            0.70   $575.00    $402.50

Service   08/22/2023   Review UCC's revised document production request           0.90   $575.00    $517.50
                       and search terms; telephone conference with B.
                       Stidham regarding email search capabilities; investigate
                       software for same;

Service   08/22/2023   Telephone conference with S. Lemmon and R. Mates           0.20   $575.00    $115.00
                       regarding document production from PQPR and
                       regarding sharing same with Sub V trustee;

Service   08/22/2023   Receipt and review of PQPR and related entity tax          1.30   $575.00    $747.50
                       returns and receipt of PQPR distribution summary from
                       R. Mates; email to client and SubV trustee regarding
                       same

Service   08/22/2023   Email communications with courtroom deputy regarding       0.60   $575.00    $345.00
                       setting on Motion to Quash; email communications with
                       D. Chasin regarding same and status of negotiations
                       over discovery;

Service   08/22/2023   Telephone conference with J. Shulse regarding              0.20   $575.00    $115.00
                       amended schedule D;

Service   08/22/2023   Receipt and review of email from R. Mates regarding        0.20   $575.00    $115.00
                       Dr. Jones document production to UCC;

Service   08/23/2023   Email communications with P. Lynch regarding Ally          0.20   $575.00    $115.00
                       Bank motion for relief from stay and proposed agreed
                       order; review and sign agreed order;

Service   08/23/2023   Receipt and review of cash collateral budget; propose      0.80   $575.00    $460.00
                       revisions to same; telephone conference with J. Shulse
                       regarding same;

Service   08/23/2023   Attend deposition of P. Riley;                             7.20   $575.00   $4,140.00

Service   08/23/2023   Attend hearing in the AEJ case on motion to enforce        0.50   $575.00    $287.50
                       orders on ESG production;

Service   08/23/2023   Receipt and review of Weekly Sales Report;                 0.10   $575.00     $57.50

Service   08/24/2023   Telephone conference with J. Patterson regarding ATS       0.40   $575.00    $230.00
                       and Platinum products revenue; email to V. Driver
                       regarding same;

Service   08/24/2023   Telephone conference with V. Driver regarding Plan of      0.60   $575.00    $345.00
                       Reorganization, Platinum settlement status; AEJ admin
                       claim and employment agreement and other matters;

Service   08/24/2023   Telephone conference with B. Stidham regarding             0.60   $575.00    $345.00
                       review of email for document production; conference
                       call with Relativity for related software solution for
                       same;




                                                  Page 5 of 8
                                                                                                   PQPR-8
                            778-1 Filed in TXSB on 03/07/24
     Case 22-60043 Document 845-8                  12/13/23 Page 16 of 60
                                                                                 Invoice # 1058 - 09/05/2023




Service   08/24/2023   Telephone conference with P. Magill regarding cash        0.10   $575.00     $57.50
                       collateral travel budget;

Service   08/24/2023   Receipt and review of financial evaluation of ESG         0.60   $575.00    $345.00
                       relationship with J. Delessio; telephone and email
                       communications with B. Schleizer and J. Shulse
                       regarding ESG accounting;

Service   08/25/2023   Receipt and review of updated cash collateral budget;     0.80   $575.00    $460.00
                       telephone conferences with P. Magill and J. Shulse
                       regarding corrections to same; review revised budget
                       and revise 15th interim cash collateral order; email
                       proposed order and budget to notice parties for review;

Service   08/25/2023   Receipt and review of V. Driver comments to proposed      0.20   $575.00    $115.00
                       AEJ employment agreement; incorporate same into
                       proposed agreement;

Service   08/25/2023   Email communications with V. Driver regarding 1004        0.10   $575.00     $57.50
                       notice for T. Fruge;

Service   08/25/2023   Telephone conference with P. Magill regarding             1.10   $575.00    $632.50
                       employment agreement modifications, cash collateral,
                       summary judgment on dischargeability, plan
                       modifications and other matters;

Service   08/25/2023   Receipt and review of promissory note for John            0.14   $575.00     $80.50
                       Haarman;

Service   08/25/2023   Email communication with D. Chasin regarding UCC          0.10   $575.00     $57.50
                       document production request status;

Service   08/28/2023   Review and revise draft joint motion to approve AEJ       0.70   $575.00    $402.50
                       Employment Agreement;

Service   08/28/2023   Email communications regarding Jones/FSS- 9019            0.20   $575.00    $115.00
                       Extension Joint Notice; review same;

Service   08/28/2023   Telephone conference with D. Chasin regarding             0.20   $575.00    $115.00
                       hearing on motion to quash and status of agreement on
                       production;

Service   08/28/2023   Email communications with V. Driver regarding AEJ         0.20   $575.00    $115.00
                       employment contract and motion, Crowder and Book
                       deals and other matters;

Service   08/28/2023   Conference with discovery search provider regarding       0.60   $575.00    $345.00
                       evaluation of software and provider costs and
                       capabilities to respond to UCC 2004 request;

Service   08/28/2023   Telephone conference with J. Shulse regarding cash        0.20   $575.00    $115.00
                       collateral budget;

Service   08/28/2023   Telephone conference with P. Magill regarding 8/29        0.20   $575.00    $115.00
                       hearings and preparation for same;

Service   08/28/2023   Telephone conference with V. Driver regarding             0.20   $575.00    $115.00
                       employment agreement and motion to approve same;




                                                  Page 6 of 8
                                                                                                  PQPR-8
     Case 22-60043 Document 845-8
                            778-1 Filed in TXSB on 03/07/24
                                                   12/13/23 Page 17 of 60
                                                                                        Invoice # 1058 - 09/05/2023




Service   08/28/2023   Finalize and upload proposed 15th cash collateral               0.10   $575.00      $57.50
                       order;

Service   08/28/2023   Finalize and file Motion to Approve AEJ employment              0.20   $575.00     $115.00
                       agreement;

Service   08/29/2023   Travel to Houston Texas and back (billed at 1/2 time)           2.20   $575.00    $1,265.00

Service   08/29/2023   Pre and post hearing meetings with client and subV              1.50   $575.00     $862.50
                       trustee; attend hearing on interim use of cash collateral
                       and motion to quash UCC 2004 notice;

Service   08/29/2023   Telephone conference with L. Freeman regarding                  0.20   $575.00     $115.00
                       motion to quash, depostions and other matters;

Service   08/29/2023   Telephone conference with W. Cicack regarding status            0.10   $575.00      $57.50
                       of negotiations with J. Delessio regarding ATS funds;

Service   08/29/2023   Telephone conference with S. Lemmon regarding                   0.10   $575.00      $57.50
                       examination of D. Jones and potential privileged
                       exhibits for use at same;

Service   08/29/2023   Telephone conference with B. Stidham regarding email            0.10   $575.00      $57.50
                       search options;

Service   08/29/2023   Telephone conference with S. Brauner and K. Porter              0.40   $575.00     $230.00
                       regarding employment agreement;

Service   08/29/2023   Receipt of email communications regarding disputes              0.20   $575.00     $115.00
                       over rights to examine witness at 2004 exam of D.
                       Jones;

Service   08/29/2023   Email communications from V. Driver regarding CEO               0.20   $575.00     $115.00
                       search firm and review website regarding same;

Service   08/30/2023   Attend emergency hearing on dispute over participation          0.50   $575.00     $287.50
                       at D. Jones 2004 examination;

Service   08/31/2023   Conference call with client, SubV trustee, her counsel          0.30   $575.00     $172.50
                       and M3 regarding analysis of PQPR funds flow;

Service   08/31/2023   Telephone conference with L. Freeman regarding                  0.30   $575.00     $172.50
                       communications with UCC counsel regarding
                       employment agreement;

Service   08/31/2023   Telephone conference with V. Driver regarding                   0.30   $575.00     $172.50
                       communications with UCC counsel regarding
                       employment agreement;

Service   08/31/2023   Attend deposition of D. Jones;                                  6.50   $575.00    $3,737.50

Service   08/31/2023   Receipt and review of Weekly Sales Settlement;                  0.10   $575.00      $57.50

                                                                                Services Subtotal       $43,435.50



Expenses




                                                   Page 7 of 8
                                                                                                        PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 18 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 19 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 20 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 21 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 22 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 23 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 24 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 25 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 26 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 27 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 28 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 29 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 30 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 31 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 32 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 33 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 34 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 35 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 36 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 37 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 38 of 60




                                                               PQPR-8
        Case 22-60043 Document 845-8
                               778-1 Filed in TXSB on 03/07/24
                                                      12/13/23 Page 39 of 60

                                                                                                              November 27 2023




Thanks for tipping, Ray
We hope you enjoyed your ride this evening



Total                                                                                                                $60.43


 rip fare                                                                                                               $45.88




Subtotal                                                                                                                $45 88
Wait Time                                                                                                                $1 58
Booking Fee                                                                                                              $1 74
Airport Surcharge                                                                                                        $2 75
Tips                                                                                                                     $7 88
Texas Regulatory Recovery Fee                                                                                            $0 60




Payments

                                                                                                                      $60.43
              11/27/23 5:17 PM

Visit the trip page for more information including invoices (where available)




You rode with ABBULLAH

UberX        10 03 miles 17
min

            10 08 AM 7800 Airport Blvd Houston TX 77061 US

            10 25 AM 1111 Louisiana St Fl 44 Houston TX 77002 US



Fare does not include fees that may be charged by your bank Please contact your bank directly for inquiries




                                                                                                               PQPR-8
        Case 22-60043 Document 845-8
                               778-1 Filed in TXSB on 03/07/24
                                                      12/13/23 Page 40 of 60

                                                                                                              November 27 2023




Thanks for tipping, Ray
We hope you enjoyed your ride this evening



Total                                                                                                                $28.74


 rip fare                                                                                                               $16.41




Subtotal                                                                                                                $16 41
Booking Fee                                                                                                              $4 56
Airport Surcharge                                                                                                        $2 75
Tips                                                                                                                     $4 79
Texas Regulatory Recovery Fee                                                                                            $0 23




Payments

                                                                                                                      $23.95
              11/28/23 4:08 AM

                                                                                                                       $4.79
              11/28/23 7:10 AM

Visit the trip page for more information including invoices (where available)




You rode with Mohammad

VP     10 44 miles 31
min

            5 19 PM 515 Rusk St Houston TX 77002 US

            5 50 PM William P Hobby Airport (HOU) Houston TX 77061 US



Fare does not include fees that may be charged by your bank Please contact your bank directly for inquiries




                                                                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 41 of 60




                                                               PQPR-8
        Case 22-60043 Document 845-8
                               778-1 Filed in TXSB on 03/07/24
                                                      12/13/23 Page 42 of 60

                                                                                                              November 8 2023




Thanks for tipping, Ray
We hope you enjoyed your ride this evening



Total                                                                                                              $152.29


 rip fare                                                                                                              $95.01




Subtotal                                                                                                               $95 01
Holland Tunnel Toll                                                                                                    $20 00
Newark City Surcharge                                                                                                   $1 00
EWR Airport Surcharge                                                                                                   $2 50
Out of Town Surcharge                                                                                                   $5 00
Tips                                                                                                                   $25 38
NY State Black Car Fund                                                                                                 $3 40




Payments

                                                                                                                    $152.29
              11/8/23 5:37 PM

Affiliated with UBER USA LLC (B03404)


Dispatched by UBER USA LLC (B03404)


To submit a complaint to the NYC TLC please call 311


Visit the trip page for more information including invoices (where available)




You rode with Fallou
License Plate    108631C
FHV License Number 5613558
Driver's LC License Number 5787588


UberX        15 81 miles 1 h 17
min

            4 08 PM 59 W 44th St New York City NY 10036 US

            5 25 PM Terminal A Newark Liberty nternational Airport (EWR) Elizabeth NJ 07114 US



Fare does not include fees that may be charged by your bank Please contact your bank directly for inquiries




                                                                                                              PQPR-8
             Case 22-60043 Document 845-8
                                    778-1 Filed in TXSB on 03/07/24
                                                           12/13/23 Page 43 of 60




Guest Name        :
Ray Battaglia                                                                      Room No.        : 0721
66 Granburg Circle                                                                 Arrival         : 11-07-23
                                                                                   Departure       : 11-08-23
San Antonio, TX 78218                                                              Page No.        : 1 of 1
United States                                                                      Folio No.       : 329279
INFORMATION INVOICE                                                                Conf. No.       : 146219239
                                                                                   Cashier No.     : 196
                                                                                   Custom Ref.     :
Company Name      :
Group Name        :


Date         Description                                                                         Charges            Credits

11-07-23     Room Charge                                                                          695.00
11-07-23     City Sales Tax - Room - 5.875%                                                        40.83
11-07-23     State Sales Tax - Room - 8.875%                                                       61.68
11-07-23     City Javits Center Tax - Room                                                          1.50
11-07-23     City Occupancy Tax - Room                                                              4.00
11-07-23     Residence Fee                                                                         45.00
11-07-23     City Sales Tax - Residence Fee 5.875%                                                  2.64
11-07-23     State Sales Tax - Residence Fee 8.875%                                                 4.00
11-08-23     American Express Payment                                                                               854.65



                                                                       Total Charges              854.65

                                                                        Total Credits                               854.65

                                                                             Balance                                  0.00




 Guest Signature:                                                                              Date:

              6 Times Square / New York, NY 10036 / Tel 212.204.4980 / Fax 212.204.4981 / theknickerbocker.com   PQPR-8
        Case 22-60043 Document 845-8
                               778-1 Filed in TXSB on 03/07/24
                                                      12/13/23 Page 44 of 60

                                                                                                              November 7 2023




Thanks for tipping, Ray
We hope you enjoyed your ride this evening



Total                                                                                                               $80.44


 rip fare                                                                                                              $34.21




Subtotal                                                                                                               $34 21
Lincoln Tunnel Toll                                                                                                    $20 00
New Jersey Newark Airport 14 to Lincoln Tunnel Secaucus 16E                                                             $2 31
Booking Fee                                                                                                             $5 63
Newark City Surcharge                                                                                                   $1 00
EWR Airport Surcharge                                                                                                   $2 50
Tips                                                                                                                   $12 98
NY State Black Car Fund                                                                                                 $1 81




Payments

                                                                                                                     $80.44
              11/7/23 10:33 PM

Visit the trip page for more information including invoices (where available)




You rode with Alessandro
ssued on behal o Alessandro


UberX        16 86 miles 26
min

            9 56 PM Terminal A Newark Liberty nternational Airport (EWR) Elizabeth NJ 07114 US

            10 22 PM 6 Cnr 42nd St and Broadway New York City NY 10036 US



Fare does not include fees that may be charged by your bank Please contact your bank directly for inquiries




                                                                                                              PQPR-8
               Case 22-60043 Document 845-8
                                      778-1 Filed in TXSB on 03/07/24
                                                             12/13/23 Page 45 of 60
                                                                                                  Invoice number        95280
                                                                                                      Invoice date      Sep 30, 2023
                                                                                                   Payment terms        Net 30
                                                                                                            Currency    US Dollar

Bill To                                     Billing Reference
                                                                                                                   AMOUNT DUE
Ray Battaglia
66 Granburg Circle
San Antonio TX 78218                                                                                          $4,380.69
United States
                                                                                                              Due on Oct 30, 2023



   ITEM                                                                   QUANTITY                 RATE                 AMOUNT

   ECA                                                                          1,036              $7.00                $7,252.00
   Free Speech Systems (September 2023)

   ECA                                                                                1      ($3,142.53)               ($3,142.53)
   Free Speech Systems (prorate 17/30) (September 2023)


                                                                                                Subtotal                $4,109.47
                                                                                               Sales tax                  $271.22
                                                                                                    Total               $4,380.69
                                                                                              Paid/Credit                   -$0.00
                                                                                            Amount due                  $4,380.69




 Payment instructions                              Pay by check                           Pay by ACH / Wire Transfer
 Please include invoice number(s)                  Everlaw, Inc.                          Wells Fargo
 and invoice amount(s) with your                   PO Box 786166                          525 Market St, 5th Floor
 payment.                                          Philadelphia, PA 19178-6166            San Francisco, CA 94105
                                                                                          Account #: 3445808581
 Send remittance email to
                                                                                          Account name: Everlaw, Inc.
 ar@everlaw.com.
                                                                                          ABA/Routing: 121042882
 For billing issues please contact                                                        Domestic Wire Transfer: 121000248
 billing@everlaw.com.                                                                     SWIFT code: WFBIUS6S (international)

 Tax ID: XX-XXXXXXX




                                                billing@everlaw.com · 1-844-EVERLAW                                     Page 1 of 1

                                                                                                               PQPR-8
        Case 22-60043 Document 845-8
                               778-1 Filed in TXSB on 03/07/24
                                                      12/13/23 Page 46 of 60

                                                                                                              September 26 2023




Thanks for tipping, Ray
We hope you enjoyed your ride this evening



Total                                                                                                                 $26.42


 rip fare                                                                                                                $18.24




Subtotal                                                                                                                 $18 24
Booking Fee                                                                                                               $1 74
Airport Surcharge                                                                                                         $2 75
Tips                                                                                                                      $3 44
Texas Regulatory Recovery Fee                                                                                             $0 25




Payments

                                                                                                                       $26.42
              9/26/23 2:58 PM

Visit the trip page for more information including invoices (where available)




You rode with Steven

VP     10 89 miles 19
min

            1 00 PM William P Hobby Airport (HOU) Houston TX 77061 US

            1 19 PM 515 Rusk St Houston TX 77002 US



Fare does not include fees that may be charged by your bank Please contact your bank directly for inquiries




                                                                                                                PQPR-8
        Case 22-60043 Document 845-8
                               778-1 Filed in TXSB on 03/07/24
                                                      12/13/23 Page 47 of 60

                                                                                                              September 26 2023




Thanks for tipping, Ray
We hope you enjoyed your ride this evening



Total                                                                                                                 $27.81


 rip fare                                                                                                                $16.91




Subtotal                                                                                                                 $16 91
Wait Time                                                                                                                 $0 20
Booking Fee                                                                                                               $4 09
Airport Surcharge                                                                                                         $2 75
Tips                                                                                                                      $3 62
Texas Regulatory Recovery Fee                                                                                             $0 24




Payments

                                                                                                                       $27.81
              9/26/23 10:24 PM

Visit the trip page for more information including invoices (where available)




You rode with Chaz

VP     10 52 miles 19
min

            2 57 PM 900 Smith St Houston TX 77002 US

            3 16 PM William P Hobby Airport (HOU) Houston TX 77061 US



Fare does not include fees that may be charged by your bank Please contact your bank directly for inquiries




                                                                                                                PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 48 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 49 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 50 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 51 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 52 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 53 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 54 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 55 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 56 of 60




                                                               PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 57 of 60




                                                               PQPR-8
        Case 22-60043 Document 845-8
                               778-1 Filed in TXSB on 03/07/24
                                                      12/13/23 Page 58 of 60

                                                                                                               July 27 2023




Thanks for tipping, Ray
We hope you enjoyed your ride this evening



Total                                                                                                            $27.50


 rip fare                                                                                                           $16.90




Subtotal                                                                                                            $16 90
Booking Fee                                                                                                          $4 04
Airport Surcharge                                                                                                    $2 75
Tips                                                                                                                 $3 58
Texas Regulatory Recovery Fee                                                                                        $0 23




Payments

                                                                                                                  $27.50
              7/27/23 11:30 AM

Visit the trip page for more information including invoices (where available)




You rode with Marvin

UberX        11 31 miles 20
min

            10 34 AM 515 Rusk St Houston TX 77002 US

            10 55 AM William P Hobby Airport (HOU) Houston TX 77061 US



Fare does not include fees that may be charged by your bank Please contact your bank directly for inquiries




                                                                                                              PQPR-8
        Case 22-60043 Document 845-8
                               778-1 Filed in TXSB on 03/07/24
                                                      12/13/23 Page 59 of 60

                                                                                                               July 27 2023




Thanks for tipping, Ray
We hope you enjoyed your ride this evening



Total                                                                                                            $29.77


 rip fare                                                                                                            $21.12




Subtotal                                                                                                            $21 12
Booking Fee                                                                                                          $1 74
Airport Surcharge                                                                                                    $2 75
Tips                                                                                                                 $3 88
Texas Regulatory Recovery Fee                                                                                        $0 28




Payments

                                                                                                                  $29.77
              7/27/23 8:15 AM

Visit the trip page for more information including invoices (where available)




You rode with Mathew

UberX        12 22 miles 22
min

            7 36 AM 7800 Airport Blvd Houston TX 77061 US

            7 59 AM 515 Rusk St Houston TX 77002 US



Fare does not include fees that may be charged by your bank Please contact your bank directly for inquiries




                                                                                                              PQPR-8
Case 22-60043 Document 845-8
                       778-1 Filed in TXSB on 03/07/24
                                              12/13/23 Page 60 of 60




                                                               PQPR-8
